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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

ESIGNATURE SOFTWARE, LLC.,                   )
                                             )
              Plaintiff,                     )
                                             )
       V.                                    )       Civil Action No. 18-544-LPS-CJB
                                             )
SIGNNOW, INC.,                               )
                                             )
              Defendant.                     )
                                             )
                                             )


                               CLERK'S ENTRY OF DEFAULT

        And now to wit this 3rd day of October, 2018, the Plaintiff, eSignature Software, LLC,
filed a Request for Default as to Defendant, SignNow, Inc. pursuant to Fed. R. Civ. P. 55(a).

       It appearing from the record (D.I. 5), that service was effectuated in accordance with
Federal Rule of Civil Procedure 4 (h)(l) (B). Defendant, SignNow, Inc. has not answered or
otherwise moved with respect to the Complaint.

        Now therefore, IT IS ORDERED, in accordance with Federal Rule of Civil Procedure·
55(a) that entry of default be and hereby is ENTERED in favor of Plaintiff and against
Defendant, SignNow, Inc.


                                                    John A. Cerino, Clerk
